Case 4:14-cv-00704-JCG-JFJ              Document 539 Filed in USDC ND/OK on 03/07/25                     Page 1 of
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                                            OFFICE OF THE CLERK
                                  UNITED STATES DISTRICT COURT
   Heidi D. Campbell                      Northern District of Oklahoma                   Telephone (918) 699-4700
   Clerk of Court                        411 UNITED STATES COURTHOUSE                           Fax (918) 699-4756
                                              333 West Fourth Street
                                           Tulsa, Oklahoma 74103-3819

                                                March 7, 2025

   Clerk of Court
   Tenth Circuit Court of Appeals
   1823 Stout Street
   Denver, Colorado 80257



   IN RE:              Case No.:              14-cv-00704-JCG-JFJ
                       10th Circuit Case No.: 25-05020
                       Plaintiff:             United States of America
                       Defendant:             Osage Minerals Council


   Dear Clerk of Court,

             Please be advised that the record on appeal is complete. Transcripts are not necessary or
             already filed for the purpose of appeal.
             If there is anything further needed, please do not hesitate to contact me.



                                                            Very truly yours,

                                                            Heidi D. Campbell, Clerk of Court


                                                            s/C. Becker

                                                            By: Cara Becker, Case Administrator



   cc: All counsel of record




                                                                          AP-02 Appeal – Clerk’s Record (8/2019)
